Case 3:22-cv-01696-JSC Document 4 Filed 03/23/22 Page 1 of 2
                 Case 3:22-cv-01696-JSC Document 4 Filed 03/23/22 Page 2 of 2




 1                                          PROOF OF SERVICE
 2          I am employed in the County of Los Angeles, State of California. I am over the age of 18 years
      and not a party to this action; my business address is: 10250 Constellation Blvd., Suite 900, Los
 3    Angeles, CA 90067. My electronic notification address is: jdodds@foxrothschild.com
 4
         On March 23, 2022, I served the foregoing CONSENT OR DECLINATION TO
 5   MAGISTRATE JUDGE JURISDICTION on the interested parties as follows:

 6           Saloojas, Inc.
             5763 Stevenson Blvd.
 7           Newark, CA 94560
 8
              [BY FIRST CLASS MAIL]: I placed the envelope for collection and mailing
 9     following our ordinary business practices. I am readily familiar with this business’s practice
       for collecting and processing correspondence for mailing. On the same day that
10     correspondence is placed for collection and mailing, it is deposited in the ordinary course of
       business with the United States Postal Service in a sealed envelope with postage fully
11     prepaid.
12
             I declare under penalty of perjury under the laws of the State of California that the foregoing is
13    true and correct.

14           Executed on March 23, 2022 at Los Angeles, California.
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